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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION

HENRIETTA MULLIGAN, as Surviving                    )
Parent and Next Friend of TIONA MULLIGAN,           )
and as the Administrator of the ESTATE OF           )
TIONA MULLIGAN,                                     )
                                                    )      Civil Action No. CV422-294
       Plaintiff,                                   )
                                                    )
v.                                                  )
                                                    )
THE UNITED STATES OF AMERICA,                       )
                                                    )
       Defendant.                                   )

          COMPLAINT FOR WRONGFUL DEATH AND ESTATE DAMAGES

       Plaintiff shows the Court as follows:

                                               1.

       This is a medical malpractice wrongful death and estate damages case against officers,

agents, employees, and representatives of Defendant USA for failures in timely diagnosing and

treating Tiona Mulligan on January 22, 23, and 24, 2018 in the Winn Army Community Hospital

(“WACH”) and in failing to timely facilitate her transfer from the WACH Intermediate Care Ward

(“ICW”) to another medical facility for a higher level of care in an Intensive Care Unit (“ICU”)

setting. Tiona Mulligan died of cardiorespiratory failure due to excessive and extended hypoxia

(lack of adequate oxygenation and ventilation) and a pulmonary embolus from a pre-existing deep

vein thrombosis in her lower leg on or around 1:00 p.m. January 24, 2018, at Winn Army

Community Hospital in Ft. Stewart, Georgia.

                                               2.

       This action is brought pursuant to the Federal Tort Claims Act, 28 U.S.C § 2671-2680, and

jurisdiction is proper in this Court under 28 U.S.C. § 1346(b). This action is brought for money

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damages that arise from personal injury and wrongful death that were caused by the negligent or

wrongful acts or omissions of an employee or employees of the United States government while

acting within the scope of their office or employment, under circumstances where The United

States of America, if a private person, would be liable to Plaintiff in accordance with Georgia law.

                                                 3.

       Venue is proper in the Southern District of Georgia pursuant to 28 U.S.C. § 1402(b).

                                                 4.

       Plaintiff Henrietta Mulligan, surviving parent and next friend of Tiona Mulligan, has been

a resident of Liberty County, Georgia as was her daughter Tiona Mulligan, since at least 2017.

                                                 5.

       Plaintiff Henrietta Mulligan is the Administrator of the Estate of Tiona Mulligan and was

duly appointed as such by the Probate Court of Liberty County, Georgia on January 7, 2020.

                                                 6.

       The Defendant is the United States of America, its officers, agents, employees, and

representatives.

                                                 7.

       At all times mentioned herein, Winn Army Community Hospital (“WACH”) at Fort

Stewart, Georgia, was an entity and / or agency of the United States Department of the Army, was

an entity and / or agency of Defendant United States of America (hereinafter “USA”). Defendant

USA may be served with process through the United States Attorney General in Washington, D.C.,

Merrick B. Garland, 950 Pennsylvania Ave, N.W., Washington, D.C. 20530-0001 and the United

States Attorney David H. Estes or Assistant United States Attorney or civil process clerk of the

office of the United States Attorney for the Southern District of Georgia, 22 Barnard Street, Suite



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300, Savannah, Georgia 31401, all by certified mail return receipt requested. The Department of

the Army may be served with process through Jonathan DeJesus, SJA Claims Division, 1791

Gulick Avenue, Building 709, Fort Stewart, GA 31314, by certified mail return receipt requested.

                                               8.

       Plaintiff Henrietta Mulligan, in her capacity as surviving parent and next friend of Tiona

Mulligan, filed a timely administrative claim for the wrongful death of Tiona Mulligan with the

USA / Department of the Army on January 21, 2020, for a “sum certain” of three million dollars

($3,000,000.00). See Claim for Wrongful Death attached hereto as “Exhibit A”. Said claim was

received and acknowledged on January 22, 2020 by Ms. Verlisha Sipp, Tort Civil Litigation

Paralegal, Department of the Army, Office of the Staff Judge Advocate, 1791 Gulick Avenue,

Building 709, Fort Stewart, Georgia 31314. See acknowledgment letter attached hereto as

“Exhibit B”.

                                               9.

       Plaintiff Henrietta Mulligan, in her capacity as Administrator of the Estate of Tiona

Mulligan, filed a timely administrative claim for estate damages incurred by the Estate of Tiona

Mulligan with the USA / Department of the Army on January 21, 2020, for a “sum certain” of one

million dollars ($1,000,000.00). See Claim for Estate Damages attached hereto as “Exhibit C”.

Said claim was received and acknowledged on January 22, 2020 by Ms. Verlisha Sipp, Department

of the Army, Tort Civil Litigation Paralegal, Office of the Staff Judge Advocate, 1791 Gulick

Avenue, Building 709, Fort Stewart, Georgia 31314. See acknowledgment letter attached hereto

as “Exhibit D”.

                                              10.

       Plaintiff has exhausted her administrative remedies under the Federal Tort Claims Act and



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has fully complied with the statutory prerequisites for bringing this tort action against The United

States of America.

                                             FACTS

                                                11.

       Tiona Mulligan, born in January of 1999, received the vast majority, if not all, of her

healthcare in 2017 and 2018 at Winn Army Community Hospital (“WACH”) in Ft. Stewart,

Liberty County, Georgia because her father, Sergeant First Class Terry Mulligan, was an active

duty member / soldier in the United States Army 3rd Infantry Division at Fort Stewart, Georgia.

                                                12.

       On January 16, 2018, Tiona Mulligan presented to the WACH Emergency Department

(“ED”) with a documented chief complaint of sore throat with cold like symptoms with vital signs

documented as Temp: 100.2; BP: 104 / 70; HR: 109; Respiratory Rate: 15; O2 SAT: 97%. A rapid

strep test was performed and reportedly resulted negative. She was diagnosed with pharyngitis and

discharged to home with respiratory system and cardiovascular system noted as normal.

                                                13.

       On January 20, 2018, Tiona Mulligan presented again to the WACH ED with documented

chief complaints of lightheadedness, sore throat, cough, and chest pain per the M.D.’s note. Her

vital signs were documented as Temp: 103.1; BP: 100 / 60; HR: 123; Respiratory Rate: 18; O2

SAT: 97%. She was diagnosed with a viral syndrome and discharged to home.

                                                14.

       On January 22, 2018, at or around 7:45 a.m., Tiona Mulligan presented for a third time in

six days to the WACH ED with a documented chief complaint of shortness of breath (SOB),

fatigue, chest pain, dizziness, cough, and nausea, all noted to be constant. Her initial vital signs



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were documented as Temp: 100.3; BP: 88 / 53; HR: 120; Respiratory Rate: 22, and O2 SAT: 89%.

Decreased breath sounds were noted on auscultation. Tiona Mulligan’s documented height was 63

inches and weight was approximately 315 pounds.

                                              15.

       It was apparent upon her presentation and initial workup in the WACH ED that Tiona

Mulligan had ongoing multiple risk factors for Deep Vein Thrombosis / Pulmonary Embolus (DVT

/ PE) to include morbid obesity, daily birth control medication (oral contraceptives), and anti-

depressant medication usage. Furthermore, she presented with numerous signs or symptoms of

DVT / PE to include ongoing tachycardia (abnormally elevated heart rate), chest pain, shortness

of breath, lightheadedness, hypoxemia, fever, and cough.

                                              16.

       WACH ED physician Dr. Abraham Fish ordered lab testing which included a chest x-ray,

CBC / Diff, and a D-dimer around 8:20am on January 22, 2018.

                                              17.

       D-dimer is a fibrin degradation product which can be present in the blood and indicate a

blood clot, or abnormal accumulation of blood, somewhere within the human body.

                                              18.

       The D-dimer lab result for Tiona Mulligan resulted in a value of 2912 which was

approximately ten (10) times the high-end value of normal (230) based on the WACH laboratory

normal value range of 0 to 230, which indicated there was a high probability of a blood clot

somewhere within the body of Tiona Mulligan.

                                              19.

       As a result of the elevated D-dimer value, a CT Angiogram was performed of Tiona



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Mulligan’s chest which reportedly was negative for pulmonary embolus, but was positive for right

upper, middle, and lower lung consolidations.

                                                20.

       WACH ED physician Dr. Abraham Fish documented “elevated d-dimer likely from PNA

(pneumonia), doubt P.E.”

                                                21.

       The chest x-ray reportedly showed right upper / mid lobe consolidation and was noted to

be negative for PE.

                                                22.

       Tiona Mulligan’s oxygen saturation levels were noted to decrease / desaturate on two

occasions while in the ED upon being assisted to the bathroom.

                                                23.

       Antibiotics Ceftriaxone and Azithromycin were administered for “CAP” or Community

Acquired Pneumonia, intravenous fluids were given, and Tiona Mulligan was admitted to the

Intermediate Care Ward (“ICW”) of WACH from the ED on or around 2:28 p.m. on January 22,

2018, to the services of Dustin K. Davis, CPT, M.D.

                                                24.

       Although the WACH ED records indicate the “plan” of care going forward for Tiona

Mulligan was to include Lovenox (anticoagulant medication), there is no evidence Lovenox was

given to Tiona Mulligan at any time within the ED or at any time thereafter from her admission to

the ICW / hospital floor around 2:28 p.m. on January 22, 2018 through and until the time a code

was called at WACH in the ICW on or around 12:00 p.m. / noon on January 24, 2018.




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                                               25.

       It should also be noted that there is documentation after Tiona Mulligan’s death at WACH

on January 24, 2018, that an order for 40mg of Lovenox was canceled.

                                               26.

       Dr. Dustin K. Davis (CPT U.S. Army) dictated an Admission History and Physical at or

around 2:49 p.m. that included the entry, “In the emergency department, she was also noted to

have hypoxemia with oxygenation saturation 89% on room air” and “CTPA obtained due to

elevated D-dimer and without PE, but showing the presence of infiltrate consistent with

community-acquired pneumonia.”

                                               27.

       The vital signs charted for Tiona Mulligan by Dr. Dustin K. Davis in his Admission History

and Physical were Heart Rate: 120; BP: 88/53; Respiratory Rate: 22; Temp: 100.3, and O2 SAT:

89% on Room Air.

                                               28.

       The Hospital Course / Narrative Summary contained within the “MultiD Discharge

Summary” and authored by Dustin K. Davis, CPT, M.D., indicated that Tiona Mulligan “continued

to have hypoxemia” upon her admission to the hospital floor / ICW from the ED.

                                               29.

       Immediately following the entry by Dr. Dustin K. Davis in his Hospital Course / Narrative

Summary of “She continued to have hypoxemia” (referring to the time of her initial admission

around 2:28 p.m. on January 22, 2018 to the hospital floor / ICW and his hospitalist services), Dr.

Davis entered the sentence, “On January 24, 2018 at 0800, the patient was noted to have acute

worsening of hypoxemia.”



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                                                30.

       Within the “MultiD Discharge Summary” of Dr. Dustin K. Davis, under the section titled

“Cause of Death” is documented the following:

       Immediate Cause (Final disease or condition                           (Approximate Internal
       resulting in death)                                                   Onset to Death)

       Cardiac Arrest                                                                1 Hour

       Due to (or as a consequence of):

       Acute Hypoxemic Respiratory Failure                                           2 Days

       Due to (or as a consequence of):

       Acute Respiratory Distress Syndrome                                           5 hours

       Due to (or as a consequence of):

       Community-acquired pneumonia                                                  2 Days

                                                31.

       Thus, Tiona Mulligan, based upon Dr. Davis’ summary, and indicated in the immediately

preceding paragraph, was in Acute Hypoxemic Respiratory Failure for 2 days prior to the cardiac

arrest which caused her death on or around noon to 1 p.m. on January 24, 2018.

                                                32.

       Dr. Davis’ Hospital Course / Narrative Summary also states, “The decision was made to

intubate the patient (which is indicated in another area of the medical records to have been at 10:56

a.m. on January 24, 2018). Baptist Hospital in Jacksonville, Florida reportedly accepted the patient

to the ICU (Intensive Care Unit) as the patient was determined to require a higher level of care.”

                                                33.

       The document within the WACH records produced to Plaintiff’s counsel titled “PATIENT

TRANSFER ORDERS” (which has no time indicated), is signed by the transferring physician


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Dustin Davis, M.D., and which most certainly was prepared sometime the morning of January 24,

2018, indicated the reason for transfer as “Hypoxemia requiring a higher level of care”; the

diagnosis “Community Acquired Pneumonia / Acute Hypoxemic Respiratory Failure”; and the

alternatives to transfer as “Remain in hospital without appropriate level of care.”

                                                 34.

            From the medical records produced by Defendant USA / Department of the Army / Winn

Army Community Hospital, it is apparent that Tiona Mulligan remained as in-patient within the

WACH ICW the entire 24 hours of January 23, 2018, as she was admitted to the ICW around 2:28

p.m. on January 22, 2018 from the WACH ED, and was still noted to be on the WACH floor (ICW)

when Dr. Dustin Davis noted in his narrative summary, “On January 24, 2018 at 0800, the patient

was noted to have acute worsening of hypoxemia.”

                                                 35.

           Regarding medical records produced by Defendant USA / Department of Army / Winn

Army Community Hospital, none of the following documents (many of which should contain

information pertinent to Tiona Mulligan’s ongoing medical condition and care and treatment for

January 23, 2018) the following have not been provided as of this time to Plaintiff’s counsel despite

at least four (4) written requests over the past several years:

       i.      Nursing Admission Assessment for date of 1/22/2018;

     ii.       Nursing Assessments for 1/22/2018 – 1/24/2018;

     iii.      Nursing Notes for 1/22/2018 – 1/24/2018;

     iv.       Nursing Flow Sheets for 1/22/2018 – 1/24/2018;

      v.       Nursing Intake and Output Records for 1/22/2018 – 1/24/2018;

     vi.       Vital Signs Records for 1/22/2018 – 1/24/2018;



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    vii.       Nursing Care Plans for 1/22/2018 – 1/24/2018;

   viii.       Medication Administration Record for 1/22/2018 – 1/24/2018;

    ix.        All Physician’s Orders for 1/22/2018 – 1/24/2018; and

     x.        Physician Progress Notes for 1/22/2018 – 1/24/2018 (Excerpt Admission History &

               Physical and Medical Narrative Discharge Summary which have been produced)

                                                  36.

           During her time at WACH between presentation to the WACH ED around 0745 hours on

February 22, 2018 until her transfer to the Intermediate Care Ward (ICW) at WACH around 2:30

p.m. on January 22, 2018 and until and through the time of Tiona Mulligan’s death in the WACH

ICW around 1:00 p.m. on January 24, 2018 there is no record or evidence of a lower extremity

ultrasound ever having been performed.

                                                  37.

           On January 24, 2018, presumably before the central venous line was attempted to be placed

by Dr. Dustin Davis (which was on or around 1200 hours / noon), Dr. Dustin Davis signed off on

a Central Venous Catheter consent form in which the following was indicated:

           Benefits : Access the circulation in order to monitor heart and lung functions and / or

           administer fluids and medications, save your child’s life if he / she needs large fluid

           requirements.

           Alternatives: Peripheral venous access which is less reliable and not suitable for

           administration of many cardiac medications.

                                                  38.

           The Emergency Resuscitation Record indicated, in part, the following:

           •   The patient was located in the WACH ICW (ward)



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       •   She had an initial Rhythm of Ventricle Tachycardia

       •   This was a witnessed arrest (This is also apparent from the note regarding the

           attempted Central Venous like placement as it was during this procedure that she

           went into cardiac arrest).

       •   CPR began at 1205 and ended at 1308 when the patient was pronounced dead.

       •   At the beginning of CPR, the patient had IV access consisting of one 20 gauge IV line

           and the patient had an Endotracheal Tube in place (on mechanical ventilator) which

           had been inserted at 1056 hours, approximately one hour before the code was called.

       •   At 1225 hours, approximately 20 minutes into the code, a #18 gauge intravenous line

           was placed in the right AC.

                                               39.

       The Georgia Death Certificate Worksheet completed by Dr. Difu Wu of the Pathology

Department at WACH indicated that an autopsy was performed and that the cause of death was:

                                                                      Interval of Onset to Death

        a. Pulmonary Embolism                                                     Minutes

        b. Deep Vein Thrombosis                                                   Hours – Days

        c. Pneumonia                                                              Days

                                               40.

        The autopsy report prepared by Dalia R. Merced – Bruno, M.D. indicated, in part, that

the Final Autopsy Diagnoses were:

      i.   Pulmonary Thrombosis, Bilateral

     ii.   Deep Vein Thrombosis, Left

    iii.   Ongoing Pneumonia


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     iv.      Morbid Obesity

   NEGLIGENCE OF DEFENDANT USA VIA EMPLOYEES AND AGENTS OF USA

                                                41.

        The allegations set forth in paragraphs 1 through 40 are realleged and incorporated herein

by reference.

                                                42.

           On January 22, 23, and 24, 2018 in the WACH ICW, Dustin K. Davis, M.D., along with

any other physicians interacting with Tiona Mulligan in the WACH ICW, created and maintained

a physician-patient relationship with Tiona Mulligan.

                                                43.

           On January 22, 23, and 24, 2018, Dustin K. Davis, M.D., and any other physicians

providing medical care and treatment to patient Tiona Mulligan in the WACH ICW, owed a duty

to Tiona Mulligan to exercise that degree of skill and care ordinarily exercised generally by other

physicians in the same or similar circumstances.

                                                44.

        Dustin K. Davis, M.D., (and any other physicians in the WACH ICW who provided care

and treatment to Tiona Mulligan in the WACH ICW) failed to exercise that degree of skill and

care ordinarily exercised generally by physicians in the same or similar circumstances and was /

were negligent in his / their care and treatment of Tiona Mulligan in multiple instances to include,

but not necessarily limited to the following:

       a. Failing to order and / or ensure the administration of Lovenox to Tiona Mulligan in the

              WACH ICW on January 22, 23, and 24, 2018;




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       b. In the event Lovenox was administered to Tiona Mulligan in the WACH ICW, in

           failing to order and / or ensure the administration of therapeutic dosages of Lovenox

           on January 22, 23, and 24, 2018, as opposed to administering merely prophylactic

           dosages of 40mg;

       c. Failing to order and / or ensure the performance of a lower extremity ultrasound on

           January 22 and / or 23, 2018; and

       d. In failing to ensure Tiona Mulligan’s transfer out of the WACH ICW to an outside

           medical facility which could provide a higher level of care on January 22 or 23, 2018

           or by very early the morning of January 24, 2018.

                                                45.

       As a result of the negligent actions and omissions of Dustin K. Davis, M.D., and any other

physicians treating Tiona Mulligan in the WACH ICW on January 22, 23, and / or 24, 2018, as set

forth herein, Tiona Mulligan experienced needless pain and suffering from extended hypoxemia

and the eventual passage of blood clot traveling from her lower extremity to her pulmonary artery

and causing her death between noon and 1:00 p.m. on January 24, 2018.

                                                46.

       The non-physician staff within the WACH ICW on February 22, 23, and 24, 2018, violated

the applicable standards of care and were negligent in failing to advocate for the administration of

Lovenox, administration of the proper therapeutic dosages of Lovenox, the performance of a lower

extremity ultrasound, and patient transfer to a higher level of care facility much sooner than was

attempted on January 24, 2018.

                                                47.

       As a result of the negligent actions and omissions of the WACH ICW non-physician staff



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as referenced in the immediately preceding paragraph, Tiona Mulligan experienced conscious pain

and suffering and died.

                                                 48.

       The affidavit of Robert John Holloway, M.D., board certified in Internal Medicine and

longtime practicing hospitalist, is attached hereto as “Exhibit E” and incorporated herein by

reference. Said affidavit sets forth at least one standard of care deviation of Dustin K. Davis, M.D.,

and any other personnel within the WACH Intermediate Care Ward (ICW) who would have

provided hospitalist / primary medical care to Tiona Mulligan, and any nurses or physician

extenders (non-physician WACH ICW staff) who would have provided care and treatment to

Tiona Mulligan in the WACH ICW, as set forth pursuant to O.C.G.A § 9-11-9.1.

                                                 49.

       All such negligence of any employees or agents of the United States / U.S. Army / WACH,

including that of Dr. Dustin Davis and other hospitalist / primary medical care providers and any

other nurses or physician extenders (non-physician WACH ICW staff) as set forth herein, is hereby

as a matter of law imputed to Defendant USA as Dr. Dustin Davis and all other healthcare

providers in the WACH ICW were acting within the scope and course of their employment and /

or agency with Defendant USA / U.S. Army / WACH at all times material herein.

                                           CAUSATION

                                                 50.

       The allegations set forth in paragraphs 1 through 40 are realleged and incorporated herein

by reference.

                                                 51.

       Had the standards of care set forth within this complaint and the affidavit of John Robert



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Holloway, M.D. (Attached hereto as Ex. A and incorporated by reference herein) been met by the

Defendant USA via its employees and agents as set forth in the complaint and the incorporated

affidavit of John Robert Holloway, M.D., Tiona Mulligan would not have died on January 24,

2018, and would be still alive today.

                                            DAMAGES

                                                 52.

       The allegations set forth in paragraphs 1 through 40 are realleged and incorporated herein

by reference.

                                                 53.

       As a result of Defendant USA’s negligence as imputed to it from its employees’ and/or

agents’ negligence as set forth herein, including but not limited to Dr. Dustin K. Davis, Tiona

Mulligan died, thus giving rise to a claim for her wrongful death of which Henrietta Mulligan as

surviving parent and next friend is entitled to be compensated for the full value of the life of Tiona

Mulligan. As such, Henrietta Mulligan has filed an administrative claim for her daughter’s

wrongful death in the amount of three million dollars ($3,000,000.00) against the United States of

America / United States Department of the Army / Winn Army Community Hospital.

                                                 54.

       As a result of Defendant USA’s negligence as imputed to it from its employees’ and/or

agents’ negligence as set forth herein, Tiona Mulligan’s Estate has been damaged thus giving rise

to the estate’s claims for her conscious pain and suffering, medical expenses, and funeral and burial

expenses collectively valued at $1,000,000.00 as set forth in the corresponding administrative

claims filed against the United States of America / United States Department of the Army / Winn

Army Community Hospital.



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                                               55.

       Plaintiff has filed contemporaneously herewith a Disclosure Statement pursuant to S.D.

Ga. L.R. 7.1.1.

       WHEREFORE, Plaintiff prays:

       a. that Defendants be served with the Summons and Complaint in this action;

       b. that judgment be entered against Defendant USA in the amount of $3,000,000 in

           compensation for the full value of the life of Tiona Mulligan;

       c. that judgment be entered against Defendant USA in the amount of $1,000,000 in

           compensation for damages to the Estate of Tiona Mulligan to include conscious pain

           and suffering, funeral and burial expenses, and any other consequential special

           damages of the estate; and

       d. any other relief legally warranted be granted to Plaintiff.

       This 13th day of December, 2022.

                                                     MANLY SHIPLEY, LLP


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     13       December          22
